IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE
NASHVILLE DIVISION

JULIE LAWSON, Case No. 3:21-CV-197
PLAINTIFF, JURY TRIAL DEMANDED
Vv. Aleta A Trauger, U.S. District Judge
Barbara D Hoimes, Magistrate judge
SWBC MORTGAGE CORP.,
PENNYMAC LOAN SERVICES, LLC Removed from Civil Circuit Court for
DEFENDANTS. Williamson County, Tennessee

 

 

AMENDED COMPLAINT

 

Comes now the Plaintiff, Julie Lawson (“Lawson”) and for her causes of action against the
Defendant, SWBC Mortgage Corp. (“SWBC”), and the Defendant, PennyMac Loan Services, LLC

(“PNMAC”), would state to this Honorable Court as follows:

I. The Parties and Jurisdiction

1. SWBC is a Texas corporation authorized to do business in the State of Tennessee with
offices in San Antonio, Texas. SWBC is also a fully licensed Lender through Tennessee
Department of Financial Institutions.

2. PNMAC is a Delaware limited liability company that is licensed and authorized to do
business in the State of Tennessee with offices in Westlake Village, California. PNMAC is
also a fully licensed Lender through Tennessee Department of Financial Institutions.

3. Lawson is a Tennessee resident.

4. Asset out below, this dispute involves amounts $75,000.

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5. This Honorable Court has jurisdiction over this dispute under 28 U.S.C. § 1332 because it is
a civil action between parties whose citizenship is completely diverse and the amount in
controversy exceeds $75,000.

6. Venue is proper because, as set out below, this lawsuit involves disputes over the handling
of Lawson’s mortgage loan (the “Loan”) and insurance proceeds (the “Settlement”) for
residential real estate at 7456 Sleepy Hollow Road in rural Williamson County, Tennessee

(the “Property”).

ll. The Contract Between Each Defendant and Lawson

7. Lawson incorporates by reference the allegations in paragraphs 1-6 of this Amended
Complaint.

8. After the real property appraised at $245,000.00, the parties entered into a contract
(“Deed of Trust and Promissory Note”) on October 1, 2016 for a principal sum amount of
$240,562.00. See Deed of Trust at ECF Doc. No. 61-1, pp. 2-12. See Promissory Note at ECF.
Doc. No. 61-1, pp. 14-16. Collectively, the Deed of Trust and Promissory Note constitute an
agreement (the “Contract”) between Lawson and SWBC. There is no dispute as to whether
the Contract existed. The Loan was secured using the Property as collateral as evidenced
by the execution of the Deed of Trust in favor of MERS, as nominee for SWBC, which was
recorded in Book 6890, pp. 141-152 with the Register of Deeds for Williamson County,
Tennessee.

9. After Lawson purchased the Property through the Loan that Defendants serviced, she

made regular mortgage payments to Defendants as a condition of the Contract. Lawson

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continued her mortgage payments for almost a year after the Loan was paid off in full per
the terms of the Contract.

10. Section 3 of the Deed of Trust provides that "Upon payment in full of all sums secured by
this Security Instrument, Lender shall promptly refund to Borrower any Funds held by
Lender." See Deed of Trust at ECF Doc. No. 61-1, p6, first sentence.

11. Section 5 of the Deed of Trust included a provision requiring the application of insurance
proceeds to the remaining principal sums owed when, after a loss to the Property, it was
financially infeasible to restore what was lost. It provides, in relevant part, that SWBC
made a covenant and agreement to the following terms in the event of loss: "If the
restoration or repair is not economically feasible or Lender's security would be lessened,
the insurance proceeds shall be applied to the sums secured by this Security Instrument,
whether or not then due, with the excess, if any, paid to Borrower. Such insurance
proceeds shall be applied in the order provided for in Section 2." Id. at pp. 6-7.

12. Section 5 of the Deed of Trust provides that the only condition upon which these
entitlements would not apply to Lawson is if SWBC and Lawson had entered into a new
written agreement. Id.

13. Section 15 of the Deed of Trust was to be governed by federal law and the law of the
jurisdiction in which the Property is located. Id. at p.9.

14. Section 22(a) of the Deed of Trust has no provision allowing PNMAC to accelerate debt on
the grounds of “default” without the existence of a payment default. Id. at p. 10.

15. Section 25 of the Deed of Trust included a provision requiring PNMAC to release the Deed

of Trust upon payment of all sums secured by it. Id. at p. 11. It provides that Lawson is

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entitled to the benefits that would have occurred had SWBC released the Contract at the
time Lawson paid all sums secured by the Contract. Id.

16. There is no dispute that SWBC sold the Loan to PNMAC. The Notice of Transfer stated that,
"The servicing of your home loan is being transferred, effective November 2, 2018. This
means that after this date, a new servicer will be collecting your home loan payments from
you. Nothing else about your home loan will change." See ECF Doc. No. 12-3 at p. 40-41.

17. A Quit Claim Deed was signed by Lawson’s ex-wife on October 8, 2018 as part of Lawson’s
divorce. See Quit Claim Deed at ECF Doc. No. 61-1, pp. 18-20.

18. When Lawson was entitled to the application of the Settlement to the principal balance of
the Loan, SWBC was required to apply it on the spot. SWBC was further required to apply it
in a specific sequence.

19. Upon transfer of the Loan to PNMAC, Lawson remained entitled to the application of the
Settlement to its principal balance. PNMAC was further required to apply it in a specific

sequence.

Ill. The Policy
20. Lawson incorporates by reference the allegations in paragraphs 1-19 of this Amended
Complaint.
21. Lawson obtained an insurance policy (the “Policy”) from Farm Bureau (the “Insurer”) when
purchasing the Property on or about October 1, 2016 to protect its value.

22. Lawson made regular payments for the security of the Policy.

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23. See the Policy's "How Losses are Settled" section at ECF Doc. No. 12-2, p. 20. This section is

titled "How Losses Are Settled" and set forth the following terms: "Loss to property

covered under this policy will be settled as follows.

1. Under Coverages A and B we will pay the actual

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cost to repair or replace covered structures, but
only to the extent of the damaged portion
thereof, including commercially reasonable
general contractor overhead and profit incurred
within 18 months after the loss, and for
equivalent construction and use on the same
premises, subject to the following:

a. Until actual repair or replacement is
completed, we will pay the actual cash value of
the damage to the structures, not to exceed the
replacement cost of the damaged part of the
structure for equivalent construction and use on
the same premises.

b. If the amount you actually and necessarily
spend to repair or replace the damaged
structures exceeds the applicable limit of liability
shown in the Declarations, we will pay the
additional amounts when the repair or
replacement is actually completed not to exceed:
i. 20% of the Coverage A limit shown in the
Declarations for Coverage A — Dwelling; or ii. 2%
of the Coverage A limit shown in the Declarations
for Coverage B — Other Structures.

To receive any payments under b.i. or b.ii. above,
you must notify us in writing within one hundred
eighty (180) days of our receipt of your proof of
loss of your intent to repair or replace the
damaged part of the covered property. In
addition, we will only pay the costs of repair or
replacement of the damaged part of the covered
property that are incurred within two (2) years
from the date of loss."

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c. We will not pay for increased costs resulting
from enforcement of any ordinance, code or law
regulating the construction, repair, or demolition
of a dwelling or other structures.

d. If stabilization or restoration of land is
necessary to repair or replace the covered
damaged structures on the same premises, we
will pay up to $5,000 to stabilize or restore the
premises after repair or repiacement of the
damaged structures is completed."

24. Lawson’s home burned down on the morning of November 29, 2017, and the Insurer’s
Adjuster declared the home and her belongings a total loss the same morning. Among
Lawson’s losses to the housefire were all food, clothing, virtually all belongings, and
shelter.

25. The fire report estimated a $300,000.00 property loss from the housefire.

26. On December 21, 2017, Lawson settled the claim with the Insurer for $218,400.00, which
exceeded the amount on her Declaration Page but was significantly insufficient for
covering the cost to rebuild the Property. See Declaration at ECF Doc. No. 12-2, p. 18.

27. Lawson is unaware of her insurer breaking any law that caused her harm.

28. SWBC received the endorsed check within approximately two days, and they allege to have

deposited the check to a restricted escrow account. Additionally, per verbal and written

instruction by SWBC, Lawson overnighted a letter of intent to rebuild.

IV. Tennessee Consumer Protection Act
29. Lawson incorporates by reference the allegations in paragraphs 1-28 of this Amended

Complaint.

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30. The Tennessee Consumer Protection Act prohibits “unfair or deceptive acts or practices
affecting the conduct of any trade or commerce.” Tenn. Code Ann. § 47-18-104.

31. The following acts or practices violate the Tennessee Consumer Protection Act:
Representing that a consumer transaction confers or involves rights, remedies or
obligations that it does not have or involve or which are prohibited by law. See Tenn, Code
Ann. §47-18-104(b)(12). Representing that a service, replacement or repair is needed when
it is not. See Tenn. Code Ann. §47-18-104(b)(13). Using unfair or deceptive acts or practices
affecting the conduct of any trade or commerce constitute unlawful acts or practices (a
Class B misdemeanor). See Tenn. Code Ann. §47-18-104(a). Refusing to reasonably show,
demonstrate or sell goods or services offered in accordance with the terms of the offer,
which should be considered when determining if its offer to sell goods or services was
bona fide. See Tenn. Code Ann. §47-18-104(c)(1).

32. “To make out a claim under the TCPA, a plaintiff must establish: (1) an ascertainable loss of
money or property; (2) that such loss resulted from an unfair or deceptive act or practice;
and (3) that the act or practice is declared unlawful under the TCPA.” Amour v. Bank of
Am., N.A., No. 1:13-CV-144, 2013 WL 6497821, at *5 (E.D. Tenn. Dec. 10, 2013). The
Tennessee Supreme Court has described a deceptive act or practice as “a material
representation, practice, or omission likely to mislead...reasonable consumers to their
detriment.” Moore v. BAC Home Loans Servicing, LP, No. 11-2845-P, 2012 WL 13020708, at
*3-4 (W.D. Tenn. Sept. 11, 2012).

33. The Act defines “trade, commerce, or consumer transaction” in part as “offering for sale,

lease or rental, or distribution.” Tenn. Code Ann. § 47-18-103(19).

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34, The TCPA has a 1-year statute of limitations from a person’s discovery of the unlawful act

or practice. Tenn. Code Ann. § 47-18-110. In Tennessee, a claim accrues when the plaintiff
discovers her injury or through the exercise of reasonable care and diligence, it should

have been discovered. Mackey v. Judy’s Foods, Inc., 867 F.2d 325, 328 (6th Cir. 1989).

V. Factual Averments

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59:

Lawson incorporates by reference the allegations in paragraphs 1-34 of this Amended
Complaint.

This dispute is about Defendants’ handling of Lawson’s Settlement for the Property.
Lawson was unable to rebuild her home on the Property after it burned down (“the
Rebuild”) and suffered several losses as a result.

Lawson has material evidence of each claim in this Amended Complaint or believes she can
reasonably obtain the material evidence during Discovery.

Table 1 of this action provides a timeline of the primary events regarding breaches of
contract before Lawson's health was impacted. Table 2 provides a continued timeline of
the primary events regarding breaches of contract, including the duration of Lawson's
severe health impacts.

Covenant 5 of the Contract came to life upon the destruction of Lawson’s home. It is
unreasonable and abnormal for a lender to wait years after an affirmative obligation
comes to life before fulfilling it. Covenant 5 of the Contract was not contingent upon any
action of Lawson’s beyond supplying her endorsed Settlement check. One of two

conditions were needed for Defendants’ obligation to come to life, requiring them each to

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apply Lawson’s Settlement to the principal balance of her mortgage loan. One of those
predicates was to analyze the cost of replacing Lawson’s home as compared to her
economic capacity to rebuild. SWBC had the knowledge, material evidence, and ability to
act on its obligation as of acquiring Lawson’s mortgage loan on December 11, 2017.
PNMAC had the knowledge, material evidence, and ability to act on its obligation as of
acquiring Lawson’s mortgage loan on November 2, 2018. Had the rebuild been
economically feasible, then PNMAC would have been obligated to also analyze whether
the ending rebuild value would be less than its initial appraisal at the time of purchase. The
Rebuild was clearly economically infeasible, making the need to analyze further moot. If
either of these conditions were not met, the Contract explicitly required the sums to be
applied to the balance of Lawson’s Note, whether or not then due.

40. SWBC sent Lawson an allegedly comprehensive Claim Processing Packet (the
“Instructions”), dated December 21, 2017, telling Lawson false requirements for processing
her claim and omitting the relevant terms of the Contract. See SWBC's Instructions at ECF
Doc. No. 61-1, pp. 22-38. SWBC's packet claims on its cover to be "Everything you need to
process your claim in 3 easy steps!" Id.

41. Lawson did not know that SWBC's Instructions were misleading; nor was she aware that
they contradicted the terms of the Contract. The Contract has no requirement for
blueprints, new or old. There is no mention of them in either Defendants’ written,
“comprehensive” Instructions for processing Lawson’s claim. On January 14, 2019, after
Lawson had repeatedly requested PNMAC document their blueprint requirements in

writing, Alexis Edwards (“Ms. Edwards”) informed Lawson by phone that PNMAC refused

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to provide a list of required documents and that the only additional documents that might
be requested are considered “exceptions.” The same day, two “exceptions” were currently
in review, one for Lawson’s septic repair needs and one request for some explanation as to
why Lawson’s conceptual plan had been denied. In December 2017, a Jane Doe employee
of SWBC's said on a phone call that Lawson couldn't rebuild until she obtained the original
house plans for her home that burned down. After investigating, Lawson let another Jane
Doe employee of SWBC's know by phone that the original blueprints did not exist. Lawson
was unable to locate the original Builder. Lawson believed that each Defendants’
Instructions contained all instructions that she was to follow, and she followed those
instructions to her detriment.

42. In December 2017, a Jane Doe employee at PNMAC said ona phone call that Lawson
couldn't rebuild until she obtained the original blueprints. Lawson explained that they
didn't exist and never heard back from SWBC on the matter.

43. On or about December 21 or 22, 2017, a Jane Doe, an SWBC employee in the Property
Damage Claims Department, instructed Lawson to mail a signed letter of intent to rebuild if
Lawson indeed wanted to rebuild her home. As mentioned previously, Lawson wanted to
rebuild her home, so she obeyed the Jane Doe's instructions and the written Instructions,
overnighting a signed letter of intent to rebuild with the endorsed $218,400.00 settlement
check from the Insurer on December 22, 2017. The letter of intent to rebuild that SWBC
told Lawson to send in no way indicated that Lawson was choosing with whom to rebuild,

nor that she knew there was a choice involved.

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44, Upon receipt of the Settlement check on December 23, 2017, SWBC had knowledge of
Lawson's available proceeds for rebuilding. This is, likewise, when SWBC had control of
Lawson's insurance proceeds. The Adjuster faxed his estimate (“Adjuster’s Worksheet”) to
“Kay” at SWBC on January 11, 2018. Under the terms of the Contract, Plaintiff was not
required to submit anything else related to her Settlement. Lawson was not required to
submit any information that was not timely submitted. SWBC then had the ability to
perform their obligation to Lawson to apply her proceeds to the sums owed on the Loan.

45. On December 5, 2017, the Adjuster provided the Insurer’s initial estimate to rebuild, which
totaled $260,755.50. SWBC and PNMAC considered the Insurer’s replacement value
estimate as its assurance of economic feasibility, not Lawson. Lawson repeatedly informed
PNMAC from the same month it bought the Loan that the Adjuster’s estimate was woefully
underestimated and explained that it excluded many necessary building supplies and labor
costs, such as for a foundation and wood flooring throughout. Lawson intends to obtain
her own professional, credible estimates and valuations during Discovery. Under the
Uniform Covenant of Section Five of the Contract, Lawson's obligation to rebuild her home
was relieved because the cost to rebuild exceeded the value of her insurance proceeds.
This inequity was the primary contributing factor to the difficulty Lawson had finding a
professional Builder. She first had to use a friend in a somewhat similar line of work as a
Builder before ultimately having to be her own Builder, obtaining approximately 70 verbal
bids, a Builder's Permit, and creating several documents for the rebuild, including the
following: a concept plan; itemized bid of all materials, labor, and tax necessary for the

rebuild; an automated timeline that proportionately decreased with each bid item; her

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own contracts; punch lists for each phase of the rebuild; and a proportionate three-
dimensional model from which to build.

Although PNMAC repeatedly denied Lawson’s request to be her own Builder beginning
December 3, 2018, Lawson did all of this to have her own shelter again to which she was
entitled and for which she was doing whatever it took to do her part for making that
happen.

46. The current Amended Complaint does not assert any estimates or costs to rebuild that
PNMAC has not already heard about on numerous occasions, including in the letter that
Lawson appended to Lawson’s initial Complaint. + See Exhibit 207 at ECF Doc. No. 52-2, p.
18. It is ademand letter dated March 12, 2020 from Lawson to PNMAC which includes five
ways to calculate the economic feasibility of rebuilding, none of which show the Rebuild
was feasible. The third of those calculations is at the top of page 17, where Lawson stated:
“| also received over five bids from Builders for reconstructing the original home, all of
which were over $300,000, as mentioned in my March 13, 2019 journal entry. In fact, one
Builder actually laughed when | told him the amount of my claim!”

47. Bob Kennedy, a Builder with whom Lawson worked on house plans during December 2017
through mid-January 2018, informed her about Williamson County Codes stairwell
requirements having changed since Lawson's home was originally built, rendering original

blueprints moot. Mr. Kennedy drew up a home design and itemized bid for rebuilding

 

1 When considering a motion to dismiss, a court may consider exhibits attached to the complaint, public records,
items appearing in the record of the case and exhibits attached to the defendant’s motion to dismiss so long as
they are referred to in the complaint and are central to the claims contained therein without converting the
motion to one for summary judgment. Rondigo, L.L.C. v. Township of Richmond, 641 F.3d 673, 680-81 (6th Cir.
2011); New England Health Care Emps. Pension Fund v. Ernst & Young, LLP, 336 F.3d 495, 501 (6th Cir. 2003) (“A
court that is ruling on a Rule 12(b)(6) motion may consider materials in addition to the complaint if such materials
are public records or are otherwise appropriate for the taking of judicial notice.”)

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Lawson's home during this time. His itemized bid was approximately $280,000.00-
§300,000.00, which exceeded Lawson's insurance proceeds.

48. Northcutt Custom Homes, LLC estimated a replacement cost of $344,280.00, or $190 per
square foot, for replacing what they considered a small, custom 1.5 story home with hardy
board having a tall crawl space and no garage in Williamson County, Tennessee.

49, Covenant 7 of the Deed of Trust is about “preserving, maintaining, and protecting the value
of the Property.” Borrowers are obligated by terms in Covenant 7 to promptly make repairs
when further damage is possible. Lawson had no home to preserve, maintain, or protect,
nor an affirmative obligation to promptly repair a nonexistent thing. Further damage could
not have plausibly occurred. The economically infeasibility of the Rebuild as it relates to
Covenant 5 of the Deed of Trust makes Covenant 7 moot. Had Covenant 7 come to life, a
required predicate of any Borrower obligation was Defendants’ release of insurance
proceeds, which was not provided. Covenant 7 of the Deed of Trust did not obligate
Lawson to repair the Property, promptly or otherwise. Lawson’s ability to obtain additional
insurance proceeds based on a condition within the Policy should not have been controlled
by PNMAC. Because the rebuild was inappropriately occurring through Defendants,
Lawson’s conditional opportunity to obtain additional proceeds could not have made the
Rebuild economically feasible. Her opportunity to access additional proceeds was
contingent on her ability to build 80% of her home under certain time constraints as her
own Builder with no prior building experience. That time constraint was a year when
Lawson requested to be her own Builder. It was reduced to six months when PNMAC

finally released proceeds to break ground. (emphasis added) “Conditional economic

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feasibility” does not equate to “economic feasibility.” The conditional opportunity to
access additional proceeds was never a guarantee. It is not normal for banks to take on
unknown financial risks over which they have no control or to wait until a questionable risk
becomes a certain risk to agree to something dependent on that risk or to verbally give
borrowers control over large sums of money, especially when a contract expressly says any
agreement must be in writing between the parties.

50. Lawson was not asked or obligated to borrow money to force economic feasibility of
rebuilding where it did not exist. Nor could Lawson have done so. She no longer had
collateral (no home). What Lawson needed if she were to successfully rebuild was for
Defendants to apply the Settlement per the terms of the Contract and release her Deed so
that she could obtain a proper construction loan. Lawson could and would have been able
to rebuild through a construction loan promptly following the proper application of her
Settlement and finalization of her divorce. Had a new agreement existed, a construction
loan for the needed funds would have allowed Lawson to pay proportionately for what she
had in value and could have afforded Lawson security by having a contract used for its
intended purpose.

51. Lawson’s diligence in attempting to rebuild her home was outrageously beyond reasonable
to expect of a Borrower.

52. Lawson objectively and affirmatively alleges that the Rebuild was never economically
feasible with either Defendant. Additionally, Lawson told a Jane Doe at SWBC by phone call
as early as January 2018 and Tahita Dingle (“Ms. Dingle”) at PNMAC by phone call as early

as December 2018 that she could not cover the cost of the Rebuild. Lawson went so far as

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to tell Ms. Dingle during the phone call that her ex-wife had taken $20,000 of other
insurance proceeds that were for Lawson’s lost belongings, but that Lawson had
earmarked as buffer for the rebuild.

53. Neither defendant offered nor suggested a new written agreement to Lawson.

54. Each defendant had an affirmative duty and obligation to apply Lawson’s Settlement to the
principal balance of the Loan once they knew the Rebuild was economically infeasible.
Lawson’s desire to rebuild is unrelated to this obligation.

55. Lawson’s depth of knowledge about economic feasibility is unrelated to Defendants’
affirmative obligations to the terms of the Contract.

56. PNMAC also instructed Lawson to mail a letter of intent to rebuild if she wished to rebuild.
Lawson has always wanted to rebuild and merely followed PNMAC’s written Instructions
(and verbal). She has been clear about this with Defendants at all times. Lawson would not
have sold the Property if not for actions and inactions described herein.

57. Lawson believed the Rebuild must happen through a defendant because, from the
beginning and still, Defendants have treated the Rebuild as an in-house matter and
because the “comprehensive” Instructions each Defendant sent Lawson were limited to
rebuilding with Defendants.

58. It was unreasonable for SWBC and PNMAC to direct Lawson away from the Deed of Trust
by sending incomplete and wrong Instructions for processing her claim. It was
unreasonable for Defendants to only include instructions for the Rebuild to occur with
them. It was unreasonable for Defendants to exclude key legal terms from its

“comprehensive” instructions for processing Lawson’s claim, such as how economic

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feasibility impacts with whom she rebuilds or what it is or anything about it at all. There is
no provision in the Contract that Lawson, at any point, needed to be aware of or
communicate about the economically feasibility of her rebuild for Defendants to become
obligated to determine feasibility under the terms of the Contract.

59. It did not take PNMAC years after Lawson’s housefire to conclude that her rebuild was
economically infeasible. The record shows that PNMAC knew the rebuild was no longer
possible when it finally permitted Lawson to break ground.

60. Assigning Lawson’s Deed of Trust to PNMAC did not make SWBC’s breaches of contract
evaporate or erase its harmful conduct.

61. Each defendants’ duties with respect to the Settlement are outlined in Paragraphs 5 and 7
of the Contract. In particular, Paragraph 5 states that, “any Settlement...shall be applied to
restoration or repair of the Property, if the restoration or repair is economically feasible...If
the restoration or repair is not economically feasible...the Settlement shall be applied to
the sums secured by this Security Instrument.”

62. Because Lawson was instructed to rebuild through each defendant, she reasonably
thought her rebuild could only happen through extraordinary efforts on her part. Lawson
thought she must go far above and beyond what should have been required of her to fulfill
her desire to rebuild, and this is what she did in her efforts to regain shelter.

63. The following insurance proceeds were released from the Settlement for demolishing
Lawson’s home and attempting to fulfill a verbal, ever-changing requirement for
blueprints. Lawson submitted all required paperwork for her Project Overseer on

December 10, 2018. PNMAC approved that paperwork. PNMAC released proceeds to pay

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the Overseer properly on January 12, 2019. After threatening Lawson with a lien on the
Property for nonpayment, the Project Overseer quit on December 29, 2018 out of
frustration over her interactions with PNMAC. Lawson submitted all required paperwork
for the demolition of her home on November 16, 2018. PNMAC released proceeds to pay
the Patriot Demolition crew properly on January 17, 2019. The owner of Patriot Demolition
had threatened a lien on Lawson’s property for nonpayment as well. After Lawson’s first
Architect became nonresponsive in early January 2019 amidst Lawson’s difficulty in
obtaining proceeds, Lawson submitted all “required” paperwork on January 22, 2019 fora
new Architect, despite begging PNMAC repeatedly to not have to use one. Lawson had
already presented her own conceptual plan and three-dimensional model of the rebuild to
PNMAC. PNMAC had already approved the conceptual plan on December 26, 2019.
(emphasis added)

64. Lawson first requested to be her own Builder in November 2018. Settlement proceeds for
breaking ground were finally released on May 21, 2019. The record shows that PNMAC
admits this was too late to rebuild. Lawson was not able to access needed additional
proceeds in time for completing her rebuild. Lawson does not recall fulfilling any required
documentation needs for the release of proceeds related directly to breaking ground.
PNMAC refused to release Lawson’s proceeds for breaking ground until having also spoiled
Lawson’s opportunity to access more necessary proceeds from the Insurer.

65. PNMAC continued allowing Lawson to believe that her only reality was to make full

mortgage payments as they withheld her ability to gain value in the Property.

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66. The value of the Settlement was harmed when 27 months passed without having applied
the Settlement. (emphasis added) This was unlawful and outside the scope of servicing
Lawson’s Loan and outside its rights as afforded by the Contract.

67. Additionally, Lawson had no shelter during that time in exchange for her mortgage
payments.

68. SWBC was not within its rights under the Contract to keep most of Lawson’s monthly
mortgage payments as interest from January 2018 through October 2018. PNMAC was not
within its rights under the Contract to keep most of Lawson’s monthly mortgage payments
as interest from November 2018 through October 2019. PNMAC was not within its rights
under the Contract to insist on Lawson retaining a licensed Architect, nor insisting she have
the resulting blueprints approved by the City of Fairview, Tennessee. PNMAC was not
within its rights under the Contract to keep a significant portion of Lawson’s profit from the
sale of the Property. PNMAC was not within its rights under the Contract to apply Lawson’s
Settlement to a fictitious outstanding loan balance. PNMAC was not within its rights under
the Contract to hinder Lawson’s access to 20% additional Settlement. PNMAC was not
within its rights under the Contract to negatively impact the value of the Property. PNMAC
was not within its rights under the Contract to accelerate Lawson’s note after Lawson had
paid the sums owed in full on January 31, 2019.

69. Lawson spent time on PNMAC, including two hours on the phone with "Jennifer," Ms.
Edwards," and "Emmy" from PNMAC on January 31, 2019 trying to resolve the several
unresolved issues piling on with PNMAC. While granular in nature, the issues are described

here due to the impact to Lawson’s health by the end of the call. Lawson was looking for

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her Architect's checks were since all documents were approved on January 25, 2019.
"Jennifer" informed Lawson that no check had been ordered and that no approval had
been given to release the funds. Lawson informed "Jennifer" that she uploaded a second
request for releasing funds to repair the septic system, an ordinarily necessary step before
Williamson County Codes would issue a Builder's Permit. Lawson's first request had been
denied. PNMAC had also recently applied her full December 2018 mortgage payment to an
escrow account. This was one of many phone calls between Lawson and PNMAC to have
her mortgage payment moved out of escrow and applied as labeled on the face of the
check ("December 2018 Mortgage"). Lawson already had over $2,000.00 in her regular
escrow account ($3,190.95 with Lawson's mortgage payment). Emmy read a January 25,
2019 note aloud from Lawson's account, which stated that PNMAC was in the process of
posting Lawson's December 2018 payment to her account but that she was still considered
delinquent. On the same call, Ms. Edwards claimed Lawson's misplaced mortgage payment
had nothing to do with the Hazzard Insurance Department, while Emmy read another note
on Lawson's account saying it was for the Hazzard Insurance Department. Requests to
correct this error had already been declined twice. Toward the end of this two-hour call,
which was no longer a rare event, Lawson's hands began to swell until she had to remove
her ring. She stated that she could see and feel her body changing, asking Emmy to Google
the symptoms before ending her call short of making her January 2019 payment.
Immediately following the call, Lawson went to Dr. John Benitez's office, Medical Director
in her office, and asked if he could check her blood pressure. He did, and Lawson's readings

from both arms fell into the category medically defined as "Hypertension Crisis." She went

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to her primary physician immediately and was diagnosed with Hypertension and Diastolic
Dysfunction, given a prescription for the new illness, and sent for more tests. Lawson had
never had high blood pressure before. Emmy called Lawson back while she was in route to
her doctor's office for the Hypertensive Crisis to take Lawson’s January 2019 payment over
the phone.

70. The following day, on February 1, 2019, Lawson received her final denial for using her
conceptual design in lieu of blueprints. Lawson let Ms. Dingle know about her health over a
phone call. Lawson further explained to Ms. Dingle that PNMAC was impacting her job
security and take-home pay. Lawson said she had had enough and could not go on like this.
Ms. Dingle then stated that, "[a]s you are building back a small home, you have the option
to pay off your mortgage." Lawson believed Ms. Dingle was referring to paying down
Lawson's loan with remaining insurance proceeds, not paying it off. Based on this
understanding, Lawson immediately replied that doing so would disqualify her from the
additional 20% of insurance proceeds for rebuilding, place her underwater with her loan,
and she would be left with two mortgages, one for a new home and one for completion of
paying off her existing Loan. Further, Ms. Dingle's suggestion implied the use of a current
effective date, was made two and a half months into Lawson's attempt to rebuild, creating
new roadblocks to the Rebuild: (1) the need to begin planning from the start once more;
(2) the need to find and obtain a construction loan, something about which Lawson was
completely ignorant of at the time. Even if Lawson had believed she had the choice, which
she did not, the timing of Ms. Dingle's statement would have made it a high-risk choice at

best. Rather than clarify what she meant by her statement, Ms. Dingle's immediate

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response was that "[t]he new home is not material consistent with the original home," so

the Rebuild may not occur with her conceptual design despite having been approved once

before. Ms. Dingle stated that the Rebuild would have to "more closely match the size and

amenities of the home." Lawson gave Ms. Dingle reason-after-reason for the Rebuild being

acceptable and closed the conversation by saying that she had extensively documented

poor conduct on PNMAC’s part for the handling of Lawson’s claim and mortgage.

71. Lawson spent the next few days making calls to PNMAC to resolve the following open

issues with PNMAC:

a. Awaiting approval of Lawson’s conceptual plan or feedback as to why it wasn’t
approved;

b. Trying to get approval for a septic repair, something without which a Builder may not
break ground in Williamson County, Tennessee;

c. Lawson’s January payment was being considered insufficient despite multiple
assurances that it was the correct amount;

d. The first reimbursement check for PNMAC having overcharged Lawson on several
mortgage payments had still not been mailed to Lawson;

e. Twelve days had passed, but Lawson’s escrow analysis remained incomplete for
determining what more PNMAC owed Lawson from the same overpayments;

f. PNMAC’s IVR phone system indicated that Lawson had a forbearance even though
she never had one and was told at one point that such a thing doesn’t exist at
PNMAC;

g. Why $990 was charged for Lawson’s taxes when only $149 was paid; and

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h. On Valentine’s Day 2019, Ms. Dingle phoned Lawson to let her know that now
Lawson’s blueprints will also need to be approved by the City of Fairview before
PNMAC will review or comment on them. She said that PNMAC refuses to give
criteria against which to compare. The one bit of guidance that Lawson was able to
pry from Ms. Dingle was that the rebuild must be of equal or greater value than the
original appraisal from when Lawson purchased her home.

72. PNMAC's Vice President of Loan Services, Mr. Marchese, became involved two weeks later
on February 16, 2019, after Lawson informed Ms. Dingle that she was preparing a formal
complaint.

73. When Lawson knew without a doubt that her opportunity to rebuild had been spoiled, she
had no choice but to place the Property on the market on September 11, 2019. This was
not what Lawson would have chosen for herself.

74. PNMAC has committed unlawful insurance acts.

75. PNMAC’s Loss Draft Department purports to be professionally equipped to handle
insurance claim matters. Ms. Edwards worked for Ms. Dingle in this department.

76. The Spanish translation of the “Hurtado” name meaning is from the past participle of
hurtar “to rob or conceal.” See Ancestry.com. A PNMAC employee, Beatriz Hurtado, sent
Lawson a letter dated January 3, 2020, advising Lawson that she was her new point of
contact for Lawson’s loan modification process and that no action was required of Lawson.

77. On January 14, 2020, “Stephanie,” a PNMAC employee, told Lawson by phone that her
restricted escrow balance was $158,688.82. This was $42,713 less than the $201,302

Settlement that should have been her restricted escrow balance.

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78. On January 21, 2020, Ms. Edwards called Lawson to let her know that the discrepancy was
human error and that PNMAC maintains multiple systems requiring manual entry of
financial data. She would not reveal to Lawson what systems were used.

79. Years late, on or about January 25, 2020, Ms. Edwards to document Lawson’s account that
she did not receive enough Settlement to rebuild, deeming the rebuild economically
infeasible two years after the same proceeds were received by Lawson’s original Lender
(SWBC).

80. Years late, on or about January 25, 2020, "Crystal," employee at PNMAC, read a note to
Lawson over the phone that she said Ms. Edwards had posted to Lawson's account within
the last 24 hours: "It says that you didn't receive enough claim funds to repair your home."
(emphasis added) Once "Crystal" read this, she became hesitant to provide further

information, calling the notes "for in-house use," "quality key points," and "claim's speak."
Excluding Ms. Edward's written logs intended for internal use only, PNMAC has at all times
misrepresented to Lawson and treated her mortgage loan as though Lawson's insurance
proceeds were sufficient.

81. When Ms. Edwards documented Lawson’s account as having insufficient Settlement, it
enabled PNMAC to permit Alice Rengstorf’s (“Ms. Rengstorf”) misapplication of Lawson’s
Settlement with an effective date two years too late.

82. Lawson was dependent on Ms. Edwards’ actions if her Settlement were to be applied
correctly to the balance of her home loan.

83. When Ms. Edwards documented Lawson’s account as just described, it gave the

appearance that her action had been made on Lawson’s behalf.

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84. At the time Ms. Edwards documented Lawson’s account as just described, she understood
Lawson never stopped wanting to rebuild. She was equally aware that Lawson had
complained of the mishandling of her Settlement. And Ms. Edwards knew that only one
settlement check was ever received and that the amount of proceeds Lawson received
never changed. Ms. Edwards knew she was falsely representing Lawson’s wishes about
how the Settlement was to be applied. Although this is stated elsewhere, it is bears
repeating with this paragraph that PNMAC permitted Ms. Edwards to insist verbally only
that Lawson could not rebuild without first obtaining a city-approved set of blueprints
designed by a licensed architect before PNMAC would consider the blueprints.

85. Ms. Edwards’ actions contradicted Lawson’s claim for payment or benefit pursuant to the
Policy and the terms of the Deed of Trust.

86. The date by which Ms. Edwards statements about economic insufficiency became true
occurred years prior when Lawson first submitted her endorsed insurance settlement
check to her Lender as directed by her insurance Adjuster and Lender.

87. Ms. Edwards’ conduct as described constitutes withholding or concealing how Lawson’s
Settlement should have been applied.

88. On January 29, 2020, Lawson faxed and fully read a letter aloud over the phone to Ms.
Edwards stating that the Property was under a contingent contract to be sold. She also
read that she wants to know about her demand statement and what will be done to
immediately halt any negative foreclosure activity. Ms. Edwards assured Lawson that she
would notify the relevant parties, including the Legal Team.

89. PNMAC’s Legal Team is professionally equipped to handle insurance law.

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90. A transaction by, between or among Lawson and an insurance professional for the purpose
of obtaining the benefits of insurance qualifies as an insurance transaction, as defined by
the Act.

91. An insurance transaction took place when Ms. Rengstorf applied, or had applied, Lawson’s
Settlement to the principal balance of Lawson’s loan.

92. Having been assigned to and working on Lawson’s account for weeks with PNMAC’s Legal
Team shows that Ms. Rengstorf had her finger on the pulse of Lawson’s loan, claim, issues,
and demands.

93. Ms. Rengstorf had unequivocal knowledge that applying Lawson’s Settlement years late
was not right or within the scope of the Contract. TN Code § 56-53-101 (2020)

94. On January 31, 2020, Ms. Rengstorf phoned Lawson. Ms. Rengstorf informed Lawson that,
after working with Management” for weeks on the Loan, PNMAC “declined” to apply her
Settlement retroactively. Ms. Rengstorf then proceeded to repeatedly ask Lawson if she
wanted her Settlement applied immediately. Lawson said “no” ten times and told Ms.
Rengstorf that would be fraud.

95. PNMAC’s Legal Team permitted Ms. Rengstorf to pay down Lawson’s mortgage loan with
the Settlement with an effective date of February 3, 2020. Ms. Rengstorf’s misapplication
of the proceeds occurred years after it should have been applied to the principal sums
owed at the time of Lawson’s housefire. Ms. Rengstorf first applied Lawson’s Settlement to
what PNMAC referred to as delinquent payments, bringing Lawson’s account current from

PNMAC’s alleged perspective.

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Ms. Rengstorf took or appropriated $201,132.02 of Lawson’s Settlement on February 3,
2020 with the intent of converting it to PNMAC’s use, depriving Lawson of her Settlement
and with callous disregard of Lawson’s health.

96. Lawson later found a PNMAC notice, dated February 4, 2020, on her online PNMAC
account. It was a notification that PNMAC had sold Lawson’s home loan to Mass Mutual
c/o Barings. (This is out of chronological sequence, but the day after Lawson found this
notice, she emailed Ms. Rengstorf to ask questions about the notice. Having blind copied
legal counsel and investigators within Mass Mutual and Barings, Lawson found a second
notice on her PNMAC account 24 hours later. It was from PNMAC and notified Lawson of
the sale of her loan back to PNMAC.)

97. It was reasonable for Ms. Rengstorf to believe that PNMAC had a duty to disclose the
breaches of contract and true status of Lawson’s payments and overpayments.

98. Nonetheless, "Ms. Rengstorf" called Lawson on February 5, 2020, to inform Lawson that
she had applied the remainder of Lawson's insurance proceeds to the home loan with a
February3, 2020 effective date. Notable is that "Ms. Rengstorf" first applied Lawson's
insurance proceeds to November 2019, December 2019, January 2020, and February 2020
mortgage payments that PNMAC falsely claimed was owed.

99. Ms. Rengstorf did not merely fail to disclose these, she took an affirmative action to
prevent others from discovering the truth when she misapplied the Settlement and wrote
a letter dated February 19, 2020 that contained twenty-three inaccurate statements. For

example, saying her misconduct was per Lawson’s request.

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PNMAC violated the statute prohibiting PNMAC from fraudulently profiting from Lawson’s
insurance claim at Lawson’s expense when Ms. Rengstorf deliberately misapplied, or had
misapplied, the Settlement that Lawson was entitled to use for recovering losses resulting
from her housefire.

Lawson received a notice of default and intent to accelerate dated February 6, 2020.
Lawson sold her property on March 27, 2020, before PNMAC could act on PNMAC’s
intention to foreclose on the Property.

Using Lawson’s Settlement to pay down Lawson’s mortgage loan was, or was in connection
to, Lawson’s insurance transaction.

Lawson was dependent on the correct application of her Settlement to the balance of her
home loan.

Ms. Rengstorf sent Lawson a letter on February 19, 2020, which stated that she had taken
this action on Lawson’s behalf.

Ms. Rengstorf knew she was falsely representing Lawson’s wishes about how the
Settlement was to be applied, because Lawson said “No” ten times just before Ms.
Rengstorf did it anyway.

Lawson’s claim for payment or benefit pursuant to the Policy contradicted the individual
and collective actions of Ms. Edwards and Ms. Rengstorf.

Ms. Rengstorf’ conduct as described constitutes withholding or concealing proper
application of Lawson’s Settlement.

But for conversations with Jane Doe SWBC employees and the instructions included in

SWBC's allegedly comprehensive Claim Processing Packet, Lawson would not have believed

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109.

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that her desire to rebuild had to be and should have been facilitated by her existing
Lender.

Lawson never received another communication from SWBC regarding her insurance
proceeds, including never receiving an escrow statement for the proceeds.

Lawson's divorce proceedings occurred from January 11, 2018 through approximately
October 8, 2018, during which time Lawson did not know who would end up owning the
Property. But for SWBC's breach of Uniform Covenant in Section Five of the Contract,
Lawson would have used this time to plan for the rebuild and work on her credit.

Lawson became the sole Owner of her property when Deb Krueger signed a Quitclaim
Deed for the Property on October 8, 2018.

On or about October 16, 2018, SWBC mailed Lawson a Notice of Servicing Transfer, which
explained that SWBC would transfer the servicing of Lawson's home loan to PNMAC
effective November 2, 2018 and nothing other than Lawson's Payee would change with her
mortgage loan. This is when PNMAC had possession and control of Lawson's insurance
proceeds in addition to Farm Bureau's estimate for replacing Lawson's loss. This is also
when PNMAC's agreement to honor Lender obligations in the Contract began.

At no point did Lawson see or receive an escrow statement for her insurance proceeds
from SWBC or PNMAC,

On or about November 12, 2018, PNMAC sent Lawson an allegedly comprehensive packet
of instructions for processing her claim. It was almost a duplicate of SWBC's packet,
likewise claiming on its cover to be "Everything you need to process your claim in 3 easy

steps!" The contents of PNMAC's claim loss packet are attached hereto as Exhibit 5. See

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115.

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Exhibit 5. Lawson believed that PNMAC's Claim Processing Packet contained all instructions
that she was to follow, and she followed those instructions to her detriment.

Lawson remained under the impression that her rebuild must occur through her current
Lender.

On or about November 14 or 15, 2018, Lawson successfully faxed a request to be her own
Builder, request for disbursement of funds, her Quitclaim Deed, and a copy of Farm
Bureau's estimate to PNMAC. The first paragraph was the first of at least nine notifications
Lawson made to PNMAC's Loss Draft Department that she only had one year in which to
rebuild if she was to qualify for an additional 20% of insurance proceeds from Farm
Bureau, most of which emphasized to PNMAC the impact their delays were having on her
ability to access the needed proceeds. The second paragraph explained the trouble Lawson
had obtaining a Builder. The final paragraph included a statement about Lawson's grit,
resiliency, and ability to deal well with stress and change. This was a true statement when
Lawson wrote it in 2018. She re-faxed these items on or about November 27, 2018 after
being told by a Jane Doe at PNMAC that they had not received parts of the original
November 14 or 15, 2018 fax.

PNMAC avers that December 5, 2018 is when they first told Lawson that blueprints were
required. PNMAC told Lawson that she must fulfill a requirement that wasn't written
anywhere, that PNMAC refused to document in writing, and that PNMAC kept changing.
The fictitious, ever-changing requirement in this example was for blueprints. a. During a
phone call on December 17, 2018, "Ms. Edwards” or a Jane Doe promised Lawson that

payment for the demolition of her home would finally be overnighted to her and that it

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was safe to allow Patriot Demolition to move forward with their work. Lawson allowed
Patriot Demolition, LLC and Buckeye Quality Construction and Remodeling, LLC to begin
solely based on "Ms. Edwards" alleged absolute certainty that Lawson would have the
ability to pay them upon completion of their work. The same day, "Ms. Edwards" denied
Buckeye Construction's Waiver of Lien again, this time because the project overseer's fee is
considered a partial payment. "Ms. Edwards" stated that all payments were required on
the project overseer's waiver, including payments for the demolition crew, surveyor, and
architect. Lawson stated for a third time that she preferred a total of three checks, one per
subcontractor. This was intended to prevent funds from being released prior to the
completion of work, while still being able to pay the project overseer and subcontractors
whose work was complete in a timely manner. Despite at least one subcontractor not
having fulfilled the terms of his contract, and despite Lawson's wishes "Mis. Edwards"
insisted on creating one check in the amount of $24,442.00 for all contractor fees
combined. "Ms. Edwards" said that the only way to split the payments up would be to
begin the approval process over again, which would take another four days to process.
Under the duress of threats from contractors for nonpayment, Lawson submitted the
Overseer's third waiver of lien to PNMAC for the full amount by the end of the day. Lawson
asked if she and the project overseer could cash the check together and create multiple
cashier's checks for distribution as work was completed. "Ms. Edwards" agreed that this
would work.

118. On or about December 18-19, 2018, Lawson's home was demolished. Buckeye

Construction oversaw the demolition.

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119. Lawson wrote the following in a letter to PNMAC on December 21, 2018: "I have done
everything that has been asked of me. Yet | keep being told that more exists at the last
possible moment. PennyMac has put me in a very bad position and is obstructing my ability
to obtain this money. And this is impacting my job. I've had to spend hours on the phone
with PennyMac and hours documenting things that aren't in the packet | was sent. I'm paid
hourly, so I'm out all that money in addition to losing political capital at my job. It is
impacting whether | get blackballed in the construction community, and | almost had a lien
put on my house yesterday because of it. I'm being yelled at, and my phone is blowing up
with texts and calls. I'm going to be in the looney bin before it's all over, and it's PennyMac
causing this mental strain. I've never encountered anything like it before. I've had the
worst year of my life, and PennyMac is hindering instead of helping and partnering with
me."

120. Instead, PNMAC stood squarely in her way, obstructing her ability to rebuild for months.
During a phone call with "Ms. Dingle" on December 23, 2018, "Ms. Dingle" fully admitting
that she knew Ms. Lawson was already worn down as a direct result of her interactions
with PNMAC, only 33 days into her effort to rebuild through PNMAC.

121. On Christmas Eve 2018, Lawson sent a written request for PNMAC to provide a list of
required documents beyond that of PNMAC's Claim Loss Packet, because PNMAC was
requiring blueprints.

122. Also on Christmas Eve 2018, Lawson spoke with "Ms. Edwards." During the call, the

following occurred: a. Lawson explained to "Ms. Edwards" that she was being threatened

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with a lawsuit, liens, and late fees by Patriot Demolition and Buckeye Construction for
nonpayment. This was not the first time this was communicated.

123. On or about December 26, 2018, Lawson informed "Tahita Dingle," head of the Loss Draft
Department at PNMAC, that the project overseer and Demolition Crew were both
threatening to place liens on her property for nonpayment and that the project overseer
was threatening to quit due to PNMAC's failure to issue payment as promised.

124. Ina call with "Ricardo Vidal," a PNMAC employee, "Mr. Vidal" told Lawson that a
December 26, 2018 notation on her account was from PNMAC's Main Office, approving her
conceptual plan. The call with "Mr. Vidal" took place on January 2, 2019.

125. Upon Lawson's receipt of the singular check on December 28, 2018, "Ms. Dingle” had
multiple private conversations with Buckeye Construction before insisting that Lawson had
two options: (1) Endorse and hand the check over to the project overseer or (2) Return the
check to PNMAC to be broken into three checks, in which case, all work on the rebuild
would have to stop and Lawson's restricted escrow account containing Lawson's insurance
proceeds would be frozen until the project overseer wrote a letter on letterhead stating
she and Lawson had come to an agreement. Lawson left "Ms. Dingle" a voicemail on the
same day to stop speaking in private with her project overseer, because it was only
agitating the project overseer further. It is noteworthy that all of this occurred after
PNMAC had been informed that Lawson was already afraid of the project overseer, her
threats, and the gun she kept in her truck. Also noteworthy is that the harassment from

the project overseer continued, because she was "tired of being jerked around."

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126. On or about January 4, 2019, "Ms. Edwards" called Lawson. Lawson shared with "Ms.
Edwards" the exciting news that her conceptual plan had been approved. "Ms. Edwards"
then put Lawson in an impossible situation. She told Lawson that the conceptual plan was
denied again; that "Mr. Vidal" was mistaken about the Main Office's approval; that she
must obtain blueprints of the rebuild; that the blueprints must come from an Architect;
and now the blueprints must also be approved by the City of Fairview, Tennessee before
PNMAC would provide any consideration or feedback as to whether the blueprints were
sufficient. "Ms. Edwards" behaved apathetically to the high-risk situation Lawson said she
was being put in.

127. The City of Fairview, Tennessee does not and did not require blueprints for building at
Lawson's rural property.

128. The same day, January 4, 2019, Lawson sent a second written request for PNMAC to
provide a list of required documents beyond that of PNMAC's Claim Loss Packet, because
PNMAC was requiring blueprints.

129. On or about January 11, 2019, Lawson called PNMAC and spoke with "Alise Hawkins."
Lawson asked "Ms, Hawkins" to notate her account that Lawson still needed a written list
of required items to avoid being blindsided again.

130. On or about January 14, 2019, "Ms. Edwards" from PNMAC called Lawson and told her that
PNMAC will not give Lawson a list of required documents to help prevent her from being
taken off-guard again.

131. On or about January 24, 2019, Lawson called the Williamson County Sherriff's Office about

what PNMAC was doing. A John Doe investigator returned Lawson's call the same day.

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After Lawson tried to explain what PNNMC was doing, the investigator was confused. He
said Lawson is under a construction loan and underwater. Lawson didn't understand why
he thought that and asked if it meant that it was PNMAC's prerogative to prevent Lawson
from rebuilding. The investigator said that he didn't understand the question.

On Valentine's Day 2019, "Ms. Dingle" reiterated "Ms. Edwards" claim that PNMAC is
unable to review any architectural plans not first approved by the City of Fairview,
Tennessee and that PNMAC refuses to give criteria against which to compare for making
this determination.

But for PNMAC's nonperformance and resulting misapplication of Lawson's November
2018 through January 2019 mortgage payments, Lawson would not have overpaid PNMAC
approximately $2,993.44 during that time period. See Table 4 for a summation of damages
resulting from breaches of contract while PNMAC was Lawson's Lender.

But for PNMAC's nonperformance and misrepresentation of Lawson's home loan being
paid for in full, Lawson would not have overpaid PNMAC approximately $12,862.45 for
February through October 2019 during that time period. Id.

On or about May 22, 2019, Angelo Marchese, Vice President of Loan Services for PNMAC
and Rachel Madrid, also a PNMAC employee, called Lawson. Mr. Marchese instructed Ms.
Madrid, "Anything we have the right paperwork for, get that out right away." This was the
first day that Lawson had truly been given verbal approval to break ground and rebuild,
giving Lawson only six months in which to rebuild. This appallingly belated verbal approval
was given for a draft of blueprints for a home having 650 fewer square feet than Lawson's

original home, a front door that opens into a bedroom (labeled Office because it had no

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closet), and a grinder that the Architect placed in a closet. To Lawson's knowledge, grinders
go in the yard and are connected to the septic tank.

A check dated May 22, 2019 was made out solely to Lawson in the amount of $15,501.20
for Lawson to break ground with her rebuild. (emphasis added) It was mailed to Lawson
from PNMAC. It was also uploaded to Lawson's online PNMAC account, along with a letter
dated May 24, 2019, that read, "We're sorry to hear about the damage to your home. We
hope you are able to quickly restore your home. You recently reported an insurance claim
to our Loss Drafts department. We are writing to acknowledge receipt of the insurance
claim check associated with that claim.... Enclosed is a check which represents the initial
disbursement of your claim funds for the repairs to your home." At no point was there a
written agreement to rebuild, and Lawson still didn't know the truth about her Lender's
broken obligations.

May 24, 2019 was too late for rebuilding Lawson's home, even if she had been a
professional production Builder.

PNMAC spoiled Lawson's opportunity to obtain the additional, necessary proceeds when it
took 190 days before allowing her to rebuild (11/14/2018-5/24/2019).

This check was issued six months after Lawson initiated her rebuild with PNMAC and six
months before her deadline to rebuild 80% of her home in order for Lawson to qualify for
an additional and imperative 20% of insurance proceeds. Lawson's discussions with
experienced Builders and research on the matter indicated that six months for building a

custom home as one's own Builder was simply infeasible. Because Lawson was incapable of

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rebuilding her home, she mailed the three PNMAC checks back to Rachel Madrid on July 4,
2019.

Lawson made mortgage payments to PNMAC from November 2018 through October 2019.
By October 2019, aside from financial losses, being diagnosed with hypertension and
diastolic dysfunction, and constant stress inflicted by PNMAC, Lawson had already been
having symptoms similar to Early Onset Alzheimer's ("EOA") for several months. Lawson
had required medical care so much in 2019 that, for the first time ever, she met her
deductible and began receiving healthcare for free, so she took that opportunity to get to
the root of her symptoms.

Lawson's primary physician agreed that something was wrong when she saw him in
October 2019. He referred Lawson to a Neurologist, Dr. Ronald Wilson. Dr. Wilson
diagnosed Lawson with amnesia on October 22, 2019 and recommended a brain MRI to
determine the cause.

Based on Lawson's symptoms immolating EOA, Lawson was terrified. She believed that her
life had been abbreviated. Accordingly, she began focusing on making plans for life
insurance, permanent disability, assisted suicide, and where she might have to move to
facilitate that assisted suicide, This is best shown via an audio recording Lawson made on
October 27, 2019, previously submitted to this Honorable Court on December 6, 2021. See
Receipt of Manual Filing (flash drive of "3 audio exhibits") at ECF Doc. No. 53.

Lawson's brain MRI on October 31, 2019 eliminated physical causes of Lawson's symptoms.
Though difficult to trust and believe at the time, Lawson was assured by her relieved

Neurologist that her symptoms were not organic.

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Dr. Wilson recommended neuropsychological testing. On or about December 2-3, 2019,
Lawson took a battery of eight exams with Neuropsychologist Dr. Cathy Della Mora.

On November 18, 2019, Lawson called PNMAC and spoke with "Arthur." After Lawson
explained the impact of her health on her ability to bring in enough pay to cover her
November 2019 mortgage payment and that her home had burned down a while back,
"Arthur" performed a Financial Interview by phone. After the Financial Interview, "Arthur"
said that it looked like Lawson qualified for a loan modification.

On or about November 20, 2019, Lawson called PNMAC and spoke with "Brenda."
"Brenda" instructed Lawson to include a letter with her loan modification application with
the housefire being the reason Lawson was not living at her property.

On or about November 22, 2019, Lawson uploaded 127-page application for a loan
modification to her online PNMAC account, including a cover letter explaining that the
Property was no longer her primary residence due to the housefire and roadblocks
encountered by PNMAC for rebuilding.

On or about November 25, 2019, Lawson called PNMAC and spoke with "Elvis." Elvis
explained to Lawson that she was protected from foreclosure while her application was
being processed.

On or about December 10, 2019, Lawson called PNMAC because she learned that her loan
modification application had been denied. She spoke with "Eric," who said he'd submit a
request to the Research Department. He said that the Research Department would submit
Lawson's loan modification application to FHA who would let PNMAC know if Lawson could

have a loan modification because of her circumstances. Eric claimed to have logged these

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and other details in Lawson's PNMAC file and that he would have documentation sent to
Lawson that this was the status of her loan modification application.

On or about December 11, 2019, while researching options to remedy a mortgage loan
issue online before work, Lawson realized that the Defendants had breached the contract
back when the fire happened. After having worn earbuds every possible working moment
to avoid exposing her current disability, Lawson stood up from her office desk and asked
every colleague around her if they understood the Lender's obligation in the same way she
did. After much consideration and searching online, her colleagues concluded that, yes,
Lawson's contract had been breached. Lawson began sobbing and had to be physically held
by Jessie Snotherman, a colleague of Lawson's. This was the moment Lawson realized that
the hell she had been through since the fire never should have been. She would eventually
unravel that the breach of contract meant that PNMAC had continued collecting a
mortgage from her for nearly a year after her home was and should have been considered
paid in full. (emphasis added)

That same day, December 11, 2019, was the day that Lawson realized: g. Her terror
regarding her health had been no accident. h. Her inability to regain shelter that she had
been paying for all along and tried so zealously to obtain wasn't bad luck. i. The loss of
Lawson's opportunity to obtain another 20% additional insurance proceeds wasn't
misfortune or fate. j. The circumstances affecting Lawson's health never should have been.
k. And being faced with foreclosure was not a consequence of Lawson's own inadequacy. I.

Much of Lawson's terror turned to anger. m. Lawson sent her first of multiple letters to

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PNMAC demanding they remedy the initial breach of contract by applying her insurance
proceeds retroactively.

Also on December 11, 2019, Lawson called PNMAC and spoke with "Jeff." After he spoke
directly with "Eric," "Jeff" confirmed that "Eric" had not logged any notes to Lawson's
PNMAC file, despite his assurance that he had. Nor had he done anything with Lawson's
loan modification application, despite his assurances that he had.

"Eric," employee at PNMAC, called Lawson on December 13, 2019. When Lawson returned
his call the same day, "Eric" asked Lawson if she wanted a Short Sale. Lawson did not know
what that was but explained the breach of contract, mistreatment (including by "Eric"), and
pending Buyer.

"Eric" also informed Lawson during the same call on December 13, 2019 that upper
management, including the following PNMAC employees were working together on
Lawson's mortgage loan: a. "Raquel" in the Insurance Department b. "Chris" in the Loss
Mitigation Department c. "Carlos," who was "Eric's" supervisor, in the Loan Modification
Department d. "Richard" in the Sales/Loan Servicing Department.

Although Lawson's loan modification application had previously been denied three times
because the Property was not her primary residence (on or about November 29, 2019,
December 18, 2019, and December 20, 2019), Lawson received a PNMAC notice from
"Beatriz Hurtado," dated January 3, 2020. The notice stated,

“| am pleased to advise that | have been assigned to be your new point of contact
throughout the Modification process.... As your point of contact, | will be responsible for

the following: Communicating with you about the status of your loan as it goes through the

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modification process; Advising you of any requirements for additional documentation that
we may need to complete our evaluation of your loan for a modification; .... There is no
action for you to take right now..."

On or about January 14, 2020, Lawson called PNMAC and her call was automatically routed
to "Escalations," where "Stephanie" answered and explained that Lawson needed to speak
with the Loss Draft Department, because they are the ones that should have applied
Lawson's insurance proceeds to her loan balance.

Once "Stephanie" transferred the same January 14, 2020 call to PNMAC's Loss Draft
Department, Lawson was informed by "Michelle" that only $158,688.85 remained of
Lawson's insurance proceeds in her restricted escrow account, which is $42,343.17 less
than what should have displayed on "Michelle's" computer screen. "Michelle" stated that
she could not see where Lawson had returned three checks totaling $42,343.17. Eventually
during the call, "Michelle" said that "Ms. Edwards" has a slightly different system; that
"Ms. Edwards" can see more than "Michelle;" and that "Ms. Edwards" wanted to speak
with Lawson about it. Lawson attempted to contact "Ms. Edwards" and "Ms. Dingle" six
times over seven days before she was finally able to connect with ""Ms. Edwards"," at
which time "Ms. Edwards" alleged that "Michelle" was looking at "Financials," claiming it to
be a different, manually updated system. This is the same thing as saying that a bank has
multiple sources of truth, independent of each other, thereby having to update Borrower
data in more than one location. "Ms. Edwards" said that she would send a note to the
Processing Team to update Lawson's restricted escrow balance to reflect the additional

$42,343.17 that should have already been there.

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On or about March 17, 2020, Lawson found a notice that had been uploaded to her online
PNMAC account on the day after "Ms. Rengstorf" misapplied Lawson's insurance proceeds,
February 4, 2020. The notice stated that PNMAC had sold Lawson's mortgage loan to
MassMutual c/o Barings, effective February 3, 2020. Lawson never received the letter by
mail.

But for PNMAC's nonperformance and misapplication of Lawson's insurance proceeds,
Lawson would not have lost approximately $3,816.94 on February 3, 2020.

PNMAC mailed a notice, dated February 6, 2020, to accelerate Lawson's mortgage loan. As
previously mentioned, the last communication Lawson received regarding her loan
modification application was the January 3, 2020 letter from "Ms. Hurtado," introducing
herself to Lawson as Lawson's point of contact throughout the modification process and
informing Lawson that no action was needed by Lawson.

Dr. Della Mora's neuropsychological evaluation was mailed to Lawson on February 10,
2020, stated that Lawson had "markedly heightened physical health symptoms and
concerns with features often associated with conversion disorders...." Measurements for
assessing the accuracy of Lawson's current level of functioning were normal. Conversion
disorder is a body's response to a perceived threat, normally caused by extreme stress or
emotional trauma. Dr. Della Mora recommended several treatments in line with this. "Ms.
Rengstorf" wrote a letter to Lawson, dated February 19, 2020, stating that she had applied
Lawson's remaining insurance proceeds, $201,132.02, per Lawson's request. This is

patently false.

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The same letter, dated February 19, 2020, also stated that PNMAC declined Lawson's
demand to remedy the breach by applying the proceeds retroactively.

On or about March 18, 2020, within 24 hours of Lawson finding the uploaded notice of sale
to MassMutual c/o Barings, Lawson emailed "Ms. Rengstorf" asking about the sale.
Though Lawson never received a reply to the email, on March 19, 2020, within 24 hours of
Mass Mutual and Barings attorneys and investigators being blind copied on an email
inquiry from Lawson to PNMAC, PNMAC purchased Lawson's mortgage loan back from
MassMutual c/o Barings.

On or about March 25, 2020, a Buyer purchased the Property for $60,000.00, finally
prompting PNMAC to release Lawson's Deed, fourteen months after Lawson paid off her
mortgage loan.

But for losing her opportunity to rebuild, being unable to convince PNMAC to remedy their
breach of contract, and facing more alleged mortgage payments, Lawson would not have
sold her vacant lot; nor would PNMAC have had the opportunity to keep another
$30,577.29 of Lawson's insurance proceeds at the time of sale.

On or about May 14, 2020, PNMAC's outside counsel, Elizabeth Campbell, sent a letter of
response to Lawson's demand for a remedy to the breach of contract. The letter declined
to remedy the breach and denied the need to respond to Lawson's demand.

PNMAC admits that June 2020, which is one week after the date Rachel Madrid, a PNMAC
employee, delivered the first insurance proceeds to break ground for the rebuild.

On or about April 4, 2021, in a last-ditch effort to work with the Defendants, Lawson filed a

formal complaint with the Consumer Financial Protection Bureau.

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On or about April 23, 2021, PNMAC declined again to remedy their breach of contract by
simply calling the complaint a duplicate of this civil action.

On or about June 8, 2021, SWBC also declined to remedy their breach of contract by simply
calling the complaint a duplicate of this civil action.

As described in this action, SWBC and PNMAC each implied through written and verbal
correspondence and through omissions that rebuilding Lawson's home should occur
through her existing Lender. Neither SWBC, nor PNMAC, ever corrected Lawson's blatantly
obvious belief that a rebuild must occur through her current Lender. Nor did either of them
ever tell Lawson that her rebuild did not have to occur through her current Lender.

Despite Lawson telling miscellaneous PNMAC employees, verbally and in writing, over a
dozen times beginning in November 2018 that she had one year in which to build 80% of
her home if she was to qualify for any more proceeds, PNMAC chose to hinder The Rebuild
with nineteen denials in lieu of explaining or admitting their obligations. PNMAC
successfully prevented Lawson's ability to access approximately $40,000 in additional,

imperative insurance proceeds.

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VI. Causes of Action
These causes of action relate back to the initial Complaint because they assert claims that arose
out of the conduct, transaction, or occurrence set out — or attempted to be set out — in the

original pleading.

A. SWBC Mortgage Corp. breached the Contract.

177. Lawson incorporates by reference the allegations in paragraphs 1-175 of this Amended
Complaint.

178. All breach of contract counts occurred after January 31, 2016, so these claims are filed
timely.

179. The parties do not question the existence of the Contract.

180. Count One: SWBC breached Uniform Covenant Five of the Deed of Trust when, with
knowledge of the Rebuild’s economic infeasibility, it failed to perform the obligation of
applying the Settlement to the sums owed on the Loan, whether or not then due.

181. Counts Two through Twelve: SWBC breached Uniform Covenant Two of the Deed of Trust
each time they misapplied Lawson’s mortgage payments predominantly to incorrect
interest

182. $10,335.98 in Lawson’s damages flow from this breach of contract. But for SWBC's breach
of their covenant and agreement to apply Lawson's insurance proceeds to the balance of
her loan, given her insurance proceeds were insufficient for covering the rebuild of her

home, Lawson would not have paid SWBC an excess of approximately $10,335.98 in

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B.

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mortgage loan payments between January and October of 2018. See Table 3 in this

Amended Complaint for a summation of these damages.

PennyMac Loan Services, LLC breached the Contract.

Lawson incorporates by reference the allegations in paragraphs 1-182 of this Amended
Complaint.

All breach of contract counts occurred after January 31, 2016, so these claims are filed
timely.

Count One: PNMAC breached Uniform Covenant Five of the Contract when, with
knowledge of the Rebuild’s economic infeasibility, it failed to perform the obligation of
applying the Settlement to the sums owed on the Loan upon Transfer of Service to PNMAC
with the date the Rebuild became economically infeasible.

Counts Two-Four: Jane or John Does at PNMAC breached Uniform Covenant Two of the
Contract each time they misapplied Lawson’s mortgage payments predominantly to
incorrect interest. Counts Five-Thirteen: PNMAC breached Uniform Covenant Three of the
Contract each time it kept Lawson’s mortgage payments that exceeded her maximum
principal indebtedness of $240,562.00.

Count Fourteen: Knowing Lawson was too ill to fight it, Ms. Rengstorf breached the
Uniform Covenant in Section Three of the Contract again when she took sums from
Lawson’s Settlement that exceeded Lawson’s maximum principal indebtedness of
$240,562.00. This occurred on January 31, 2020, so filing this claim on Monday, February 1,

2021 was timely.

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VI. Causes of Action
These causes of action relate back to the initial Complaint because they assert claims that arose
out of the conduct, transaction, or occurrence set out — or attempted to be set out — in the

original pleading.

A. SWBC Mortgage Corp. breached the Contract.

185. Lawson incorporates by reference the allegations in paragraphs 1-184 of this Amended
Complaint.

186. All breach of contract counts occurred after January 31, 2016, so these claims are filed
timely.

187. The parties do not question the existence of the Contract.

188. Count One: SWBC breached Uniform Covenant Five of the Deed of Trust when, with
knowledge of the Rebuild’s economic infeasibility, it failed to perform the obligation of
applying the Settlement to the sums owed on the Loan, whether or not then due.

189. Counts Two through Twelve: SWBC breached Uniform Covenant Two of the Deed of Trust
each time they misapplied Lawson’s mortgage payments predominantly to incorrect
interest

190. $10,335.98 in Lawson’s damages flow from this breach of contract. But for SWBC's breach
of their covenant and agreement to apply Lawson's insurance proceeds to the balance of
her loan, given her insurance proceeds were insufficient for covering the rebuild of her

home, Lawson would not have paid SWBC an excess of approximately $10,335.98 in

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1S,

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mortgage loan payments between January and October of 2018. See Table 3 in this

Amended Complaint for a summation of these damages.

PennyMac Loan Services, LLC breached the Contract.

Lawson incorporates by reference the allegations in paragraphs 1-190 of this Amended
Complaint.

All breach of contract counts occurred after January 31, 2016, so these claims are filed
timely.

Count One: PNMAC breached Uniform Covenant Five of the Contract when, with
knowledge of the Rebuild’s economic infeasibility, it failed to perform the obligation of
applying the Settlement to the sums owed on the Loan upon Transfer of Service to PNMAC
with the date the Rebuild became economically infeasible.

Counts Two-Four: Jane or John Does at PNMAC breached Uniform Covenant Two of the
Contract each time they misapplied Lawson’s mortgage payments predominantly to
incorrect interest. Counts Five-Thirteen: PNMAC breached Uniform Covenant Three of the
Contract each time it kept Lawson’s mortgage payments that exceeded her maximum
principal indebtedness of $240,562.00.

Count Fourteen: Knowing Lawson was too ill to fight it, Ms. Rengstorf breached the
Uniform Covenant in Section Three of the Contract again when she took sums from
Lawson’s Settlement that exceeded Lawson’s maximum principal indebtedness of
$240,562.00. This occurred on January 31, 2020, so filing this claim on Monday, February 1,

2021 was timely.

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196. Several damages flow from these breaches of contract: incorrect interest paid, loss of
additional proceeds, devaluation when selling the Property, an Architect’s retainer fee,

time lost, work put into attempts to cope with these breaches.

C. PennyMac Loan Services, LLC breached its fiduciary duty.

197. Lawson incorporates by reference the allegations in paragraphs 1-196 of this Amended
Complaint.

198. PNMAC and Lawson’s relationship began via the Contract.

199. Lawson was inexperienced in all related insurance matters resulting from the housefire.

200. PNMAC and Lawson’s contractual relationship evolved into a troubled legal or per se
fiduciary relationship when PNMAC exercised control over Lawson.

201. In this confidential relationship, Lawson placed confidence in PNMAC. For example,
Lawson sought and failed to obtain nineteen approvals from PNMAC for beginning the
Rebuild. In this example, Lawson did not need any approval from PNMAC. She needed to
be released from it. PNMAC exercised control over Lawson and Lawson was under
PNMAC’s control when PNMAC hindered the Rebuild, her ability to obtain additional
proceeds, and demolished the value of the Property.

202. PNMAC, with ability and because of Lawson’s confidence in it, influenced and exercised
control over Lawson when it prevented the Rebuild.

203. Because Lawson and PNMAC both understood that Lawson did not know she could act
independently of PNMAC, a special trust or confidence had been reposed. Lawson and

PNMAC were well beyond conducting business at arm’s-length. For example, Lawson acted

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with full transparency and amiability with PNMAC. PNMAC, on the other hand, hid critical
information from Lawson regarding the Rebuild and the Loan. PNMAC also acted against
Lawson’s interests to her detriment.

204. Lawson did not have a routine business relationship with PNMAC. Attempts to rebuild
were regularly vetted and denied by PNMAC’s Legal Team. Lawson’s world revolved
around PNMAC to regain her home because she was completely dependent on it. On or
about December 21, 2018, Ms. Dingle spoke to Lawson about the trust she wanted to build
with Lawson. The relationship between PNMAC and Lawson was fiduciary.

205. PNMAC had a duty to act and give advice for the benefit of Lawson on matters within the
scope of the Deed of Trust.

206. Lawson clearly did not understand her rights and options with her Lenders.

D. PennyMac Loan Services, LLC violated Tennessee’s Consumer Protection laws.

207. Lawson incorporates by reference the allegations in paragraphs 1-206 of this Amended
Complaint.

208. Count One: PNMAC represented that Lawson could rebuild in opposition to the terms of
the Contract. Tenn. Code Ann. §47-18-104(b)(12).

209. Count Two: PNMAC represented that Lawson must rebuild. Tenn. Code Ann. §47-18-
104(b)(13).

210. Count Three: PNMAC deceived Lawson with its Claim Loss Packet and obstruction to the

Rebuild. Tenn. Code Ann. §47-18-104(a).

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211.

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Count Four: PNMAC refused to fulfill its obligations and act within the scope of the terms
of the Contract. Tenn. Code Ann. §47-18-104(c)(1).

Lawson incorporates by reference the allegations in paragraphs 1-# of this Amended
Complaint.

PNMAC’s misrepresentations, deception, and bogus acts affected trade or commerce, as
defined by the Act.

A foreclosure, as defined by Oxford Languages, is the action of taking possession of a
mortgaged property when the mortgagor fails to keep up their mortgage payments.
PNMAC’s attempt to foreclose on the Property in February 2020 was illegitimate because
there was no collateral to legally repossess.

The Loan was paid off in full per the terms of the Deed of Trust on January 31, 2019.
PNMAC’s notice of intent to accelerate was dated February 6, 2020, at which time, even
PNMAC only considered a January payment as overdue. This is because Ms. Rengstorf
applied the Settlement to three months of mortgage payments and fees they considered
due before applying the remainder to Lawson’s principal. From the start, the Rebuild was
not economically feasible. Had PNMAC honored their obligation per Covenant 5 of the
Deed of Trust, PNMAC could not have suggested Lawson owed anything after January
2019.

PNMAC’s misrepresentation, deception, and bogus acts facilitated Lawson’s losses
associated with the misapplication of the Settlement, degraded value of the Settlement

from sitting stagnant for years, and property value lost when Lawson had to sell the

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Property. These losses resulted from the unfair and deceptive acts and practices described
herein.

218. A reasonable Consumer would have likely been misled and harmed by PNMAC’s material
misrepresentations, practices, and omissions as described herein.

219. Lawson is a consumer as defined by the Act. Tenn. Code Ann. § 47-18-102(2).

220. PNMAC’s acceleration of the Note more than a year after Lawson’s mortgage loan was paid
off in full per the terms of the Contract did not distance its conduct from trade and
commerce, as defined by the Tennessee Consumer Protection Act.

221. The manufactured “foreclosure proceedings” of PNMAC after the Loan was paid in full
were illegitimate and divorced from actions on the part of Lawson. (emphasis added) A
lender's illicit actions do not constitute actual foreclosure, a valid reason for debt-
collection, or an authentic need for a loan modification. Further, PNMAC’s deception
around foreclosure is peripheral to the heart of this complaint and occurs long after other
illicit actions occurred.

222. The losses associated with the claim under the TCPA resulted from the unfair and

deceptive acts described herein.

E. PennyMac Loan Services, LLC committed insurance fraud and concealed its fraud. See TN
Code § 56-53-103.
223. Lawson incorporates by reference the allegations in paragraphs 1-221 of this Amended

Complaint.

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224. Lawson periodically suspected fraud as a general term. After reading PNMAC’s second
motion to dismiss, Lawson dissected each sentence. PNMAC mentioned a fiduciary
relationship. When Lawson investigated this in conjunction with Tennessee Common Law,
she realized that Tennessee has a specific common law for insurance fraud that applies to
Defendants’ conduct beyond their breaches of contract and introduces Insurance Fraud as
the correct statute covering Defendants’ fraudulent conduct.

225. PNMAC’s services are partly compensated by insurance claims and proceeds, either
directly or indirectly.

226. PNMAC committed an unlawful insurance act hoping to induce Lawson’s dependence,
when Ms. Edwards knowingly notated Lawson’s mortgage account years late, purportedly
on Lawson’s behalf, for other insurance professionals in connection with Lawson’s
Settlement. The information notated had been true for the past two years. This falsely
represented the timing of economic infeasibility for the Rebuild (a material fact). Further,
PNMAC employees withheld and/or concealed its obligation regarding Lawson’s
Settlement, given the economic infeasibility of the Rebuild pursuant to the Policy.

227.PNMAC’s infliction of fictitious obligations on Lawson after the fire altered their
relationship from a simple Lender-Borrower relationship to one of fiduciary responsibility.
PNMAC and Lawson had a fiduciary relationship.

228. PNMAC mishandled Lawson’s insurance proceeds as servicer and owner of Lawson’s
mortgage loan.

229. When Ms. Rengstorf breached the contract by misapplying the Settlement, she also

breached a common law duty independent of the Contract.

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230. PNMAC had a separate and affirmative duty to disclose their breaches of contract and its
intentional, erroneous transaction involving Lawson’s Settlement, but it failed to do so.
Lawson’s damages stem from a breach of the Contract and Insurance Fraud.

231. Ten months after Lawson’s Loan was paid off in full per the Contract, PNMAC was still
representing otherwise. It applied $32,156.69 from the sale proceeds to pay off what it
called the outstanding balance of Lawson’s Loan. It paid $3,979 for realtor fees and closing
costs that Lawson would not have had, had PNMAC’s actions been legitimate. And it called
the 90.3% loss of the value of the Property from Lawson’s initial purchase a “profit.”

232.PNMAC’s actions affected its servicing of the Loan and the value of the Property.

233. Lawson said “No” ten times during a phone call with Ms. Rengstorf, employee at PNMAC,
when repeatedly asked if Lawson wanted PNMAC apply her Settlement with a current
effective date which was years after her home burned. Lawson even said it was fraud on
the phone call. PNMAC misapplied the remaining Settlement anyway, which equaled
$201,132.02, to the outstanding balance of the Loan, effective February 3, 2020. PNMAC
then represented that Lawson requested they do so. In so doing, PNMAC acted unlawfully
and outside the scope of servicing Lawson’s Loan and outside its rights as afforded by the
Contract.

234. These averments constitute a claim for Fraud.

235. Neither PNMAC’s misleading packet of allegedly comprehensive instructions for processing
a claim, nor its verbal instructions and requirements given to Lawson should have altered

the terms of the Contract or governed the relationship with PNMAC and Lawson.

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236.PNMAC’s sending of a “Property Loss Claim Package” in November 2018 was insurance
fraud; PNMAC’s intentional misapplication of the Settlement to the Loan on or about
January 31, 2020 was insurance fraud.

237.PNMAC actively chose to attempt a false foreclosure on Lawson’s fully-paid-for property.

F. PennyMac Loan Services, LLC committed insurance fraud when Ms. Rengstorf misapplied
Lawson’s remaining Settlement to the sums owed on Lawson’s mortgage loan with a
grossly inaccurate effective date.

238. Lawson incorporates by reference the allegations in paragraphs 1-237 of this Amended
Complaint.

239. PNMAC unlawfully, knowingly and with intent to defraud, and for the purpose of depriving
Lawson of pecuniary gain, committed or intentionally permitted its employees or its agents
to divert, misappropriate, convert or embezzle funds of Lawson’s in connection with an
insurance transaction.

240. PNMAC’s act of misapplying the Settlement was false or fraudulent because it involved, at
a minimum, “subterfuge” that Lawson’s proceeds were to be erroneously applied to the
balance of the Loan with a current effective date instead of applying it with an effective
date that aligned with the housefire, the Contract, and Lawson’s insurance claim.

241. PNMAC prepared, these false or fraudulent documents or writings.

242. PNMAC intended for these false or fraudulent documents or writings to be presented or
used in support of the misapplication of Lawson’s claim for the payment of her loss or

other benefit.

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243. PNMAC presented or caused to be presented false or fraudulent proof in support of
Lawson’s claim when paying down the sums owed on Lawson’s principal loan with
Lawson’s Settlement with an effective date years after its obligation to do so.

244. Lawson’s Settlement was derived from the Policy.

245. Lawson’s has stated a Plausible Claim for Relief resulting from Insurance Fraud.

G. PennyMac Loan Services, LLC committed fraud, declined a demand to perform according to
the terms of the Contract, and concealed those actions.

246. Lawson incorporates by reference the allegations in paragraphs 1-245 of this Amended
Complaint.

247.PNMAC concealed or suppressed a material fact.

248. PNMAC had an affirmative duty to disclose that fact to Lawson.

249. PNMAC intentionally concealed or suppressed that fact with the intent to deceive Lawson.

250. Lawson was unaware of the act and would have acted differently if she had known about
the concealed fact. Lawson was damaged because of the concealment or suppression of
the fact.

H. PennyMac Loan Services, LLC intentionally inflicted Lawson’s emotional distress.

251. Lawson incorporates by reference the allegations in paragraphs 1-250 of this Amended
Complaint.

252. PNMAC’s conduct described in this Amended Complaint was intentional or reckless.

253. PNMAC’s intolerable conduct was outrageous and utterly lacking in civility.

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254. PNMAC’s conduct resulted in very serious mental injury to Lawson, most of which was
temporary in nature.

255. The Complaint Sufficiently Pleads a Claim for Intentional Infliction of Emotional Distress.

256. Lawson’s IIED claim is valid and should be granted.

257. Lawson contends she was harmed by the extreme, chronic and longstanding stress that
PNMAC inflicted on her as she tried to regain her shelter.

258. But for PNMAC, Lawson would not have thought she had a terminal illness. But for PNMAC,
Lawson would not have encountered chronic, relentless stress for months on end.

259. PNMAC’s conduct was so outrageous, as to go beyond all possible bounds of decency, and
to be regarded as atrocious, and utterly intolerable in a civilized community.

260. What PNMAC put Lawson through, its collective actions, was horrid. It was savage, carnal

and utterly lacking in humanity or civility.

Considering the plausible claims asserted above, Lawson respectfully requests the
following relief from this Honorable Court:

a) That process issue and each Defendant be required to answer within the time allowed
by law;

b) That Lawson be awarded compensatory damages against SWBC and PNMAC, jointly and
severally, in an amount in excess of $480,000.00;

c) That Lawson be awarded punitive damages against SWBC and PNMAC, jointly and
severally, in an amount to be set by the Trier of Fact in addition to and in excess of the

amount of compensatory damages;

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d) That Lawson be awarded treble damages against PNMAC, pursuant to the Tennessee

Consumer Protection Act for the willful, knowing and intentional violations of the act.

e) That PNMAC be Ordered to correct Lawson's credit reporting with Transunion, Equifax,

Innovis, and Experian.

f) That SWBC and PNMAC, jointly and severally, be Ordered to install guardrails that will

prevent this harm from happening to other Borrowers going forward. These guardrails

could be one or more of the follow ideas or ideas generated by the Trier of Fact during

trial. Lawson’s hope is that any guardrails be ordered to be implemented quickly with a

definitive start date and some form of monitoring. Lawson’s ideas are for SWBC and

PNMAC to each:

Provide known requirements in initial claim-related materials distributed to a
Borrower and additional clear, unambiguous written correspondence to Borrowers
as claim-related requirements become known.

Include clear, unambiguous terms for Settlement from a Borrower's Deed of Trust in
any claim-related materials distributed to a Borrower.

Train and monitor PNMAC representatives to verbally explain and refer applicable

Borrowers to the Section Five of a Borrower’s Deed of Trust.

iv. Create and maintain a single source of truth in all existing and new loan origination
software platforms. A Borrower's financial data should never be entered in multiple
locations.

v. Include clear language in notifications of assignment, sale, or transfer that will
perpetuate these protections when assigning, selling, or transferring a Borrower's

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loan. Likewise, include clear language in notifications of assignment, sale, or transfer
that will initiate these protections when a Borrower’s home loan is assigned, sold, or
transferred to SWBC or PNMAC.
vi. Continue these protections indefinitely, even beyond a Lender’s affiliation change.
g) That Lawson be awarded her attorney fees, costs of litigation, and other expenses in
prosecuting this civil action, plus pre- and post-judgement interest;
h) That a jury of six (6) be impaneled to hear this action;
i) That Lawson be awarded such other, further relief as this Honorable Court deems just
and equitable.

j) For general relief.

Respectfully submitted this 22"? day of April, 2022.

w Qunsc.—___—
JulieXAnn Son, Plaintiff (pro se)
arpeth Bend Drive; Nashville, TN 37221
Phone No: 615.294.6527
julie. lawson0207@gmail.com
~ Bea light, the change, & ever kind. ~

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THIS COMPLAINT IS SET TO BE HEARD ON AT

O’CLOCK A.M./P.M. ON THE CIRCUIT CIVIL COURT COMPLAINT DOCKET
HEARD AT THE UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF TENNESSEE,
NASHVILLE DIVISION. IF NO WRITTEN RESPONSE TO THIS COMPLAINT IS FILED AND SERVED IN

THE TIME SET BY THIS HONORABLE COURT, THE COMPLAINT MAY BE GRANTED WITHOUT A
HEARING.

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CERTIFICATE OF SERVICE

| hereby certify that | personally served a true and exact copy of the foregoing AMENDED
COMPLAINT with the Clerk of Court for THE UNITED STATES DISTRICT COURT FOR THE MIDDLE
DISTRICT OF TENNESSEE, NASHVILLE DIVISION and that | served a true and exact copy of the
same upon the individuals listed below via first class U.S. mail on this the 22" day of April,
2022:

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